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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                       Criminal No. 07-189 (3) (JRT/JSM)

                                 Plaintiff,

 v.                                             ORDER SEALING DOCUMENT

 MARCHELLO DION JEFFERSON,

                          Defendant.
 _______________________________________________________________________

       W. Anders Folk, Assistant United States Attorney, OFFICE OF THE
       UNITED STATES ATTORNEY, 300 South Fourth Street, Suite 600,
       Minneapolis, MN 55415, for plaintiff.

       Lyonel Norris, Assistant Federal Defender, OFFICE OF THE FEDERAL
       DEFENDER, 300 South Fourth Street, Suite 107, Minneapolis, MN, for
       defendant.


       This matter comes before the Court on the defendant’s motion to seal document.

Based upon all the records and proceedings herein,

       IT IS HEREBY ORDERED that defendant’s motion to seal document [docket no.

897] is GRANTED. Defendant shall be allowed to file the documents he has submitted

under seal.


DATED: May 6, 2009
at Minneapolis, Minnesota
                                                 _____ s/John R. Tunheim______
                                                      JOHN R. TUNHEIM
                                                   United States District Judge
